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		OSCN Found Document:IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2021 OK 48Case Number: SCBD-6971Decided: 10/04/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 48, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2020 DUES



ORDER STRIKING NAMES



The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls for failure to pay dues as members of the Oklahoma Bar Association for the year 2020.

Pursuant to the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011 ch. 1, app. 1, art. VIII §2, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Oklahoma Bar Association and prohibited from practicing law in the State of Oklahoma by this Court's Order of September 14, 2020, for failure to pay their 2020 dues in accordance with Article VIII, Section 2 of the Rules. Based upon the application, this Court finds that the Board of Governors determined at its May 21, 2021, meeting that none of the Oklahoma Bar Association members named on Exhibit A, attached hereto, have applied for reinstatement, pursuant to Article VIII, Section 4 of the Rules, at the time of the filing of its application. The Board of Governors further declared that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and that their names should therefore be stricken from its membership rolls and the Roll of Attorneys on September 14, 2021, pursuant to Article VIII, Section 5 of the Rules. This Court further finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

It is therefore ordered that the attorneys named as set forth on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys for failure to pay their dues as members of the Association for the year 2020.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 4th DAY OF OCTOBER, 2021.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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EXHIBIT A
(DUES - STRIKE)

Kerry L. Balentine, OBA No. 12204
424 Gold St.
Shelby, NC 28150

Jake Randal Boazman, OBA No. 21606
448 US Hwy 60/70/84
Clovis, NM 88101

Scott Alan Briggs, OBA No. 17380
13525 Green Cedar Ln.
Oklahoma City, OK 73131

Randolph D. Bunn, OBA No. 11775
10301 S. 69th East Ave.
Tulsa, OK 74133-6722

Jade Caldwell, OBA No. 31820
12316A N. May Ave., Ste. 216
Oklahoma City, OK 73120

Jaime Stone Hammer, OBA No. 22799
465 Nottingham Drive
Auburn, AL 36830

Jacob Russell Lee Howell, OBA No. 30874
20 S. 7th Street
Van Buren, AR 72956

Julie Ann Lambeth, OBA No. 32298
8117 Preston Rd., #530
Dallas, TX 75225

Paul D. Meunier, OBA No. 6161
7601 Debeaubien Dr.
Orlando, FL 32835-8127

Lisa Patel, OBA No. 11325
4639 S. Quaker Ave.
Tulsa, OK 74105-4721

Annie K. Schmitt, OBA No. 30881
2703 E. 9th St.
Tulsa, OK 74112

Linda Lee Schoen, OBA No. 17133
P.O. Box 430
Geneva, IL 60134

Robert Carlyle Scott, OBA No. 22709
1120 NW 51st Street
Oklahoma City, OK 73118

Michael Gene Smith, OBA No. 19994
9857 N. 2210 Rd.
Arapaho, OK 73620

Nataliya Kharmats Tipton, OBA No. 32556
650 Westcross St., UNIT 23
Houston, TX 77018

Kenneth Shane Walker, OBA No. 19628
1722 N. College Ave., Ste. C #224
Fayetteville, AR 72703

Brandon Duane Watkins, OBA No. 18868
713 NE 4th Street
Perkins, OK 74059

Donald Ray Wheat, OBA No. 9510
12817 Ponderosa Blvd
Oklahoma City, OK 73142-2292

Haskell Doak Willis, OBA No. 9703
400 South Muskogee Ave.
Tahlequah, OK 74464

Kenneth Carl Wright, OBA No. 9916
121 S. Orange Ave., Ste. 1500
Orlando, FL 3280

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